       Case 2:13-cv-01019-JAD-EJY Document 161 Filed 01/07/19 Page 1 of 1
                                   UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA


Robert Williamson, III, et al.,                  )
                                                 )
                                                 )
                  Plaintiff(s),                  )
        vs.                                      )               2:13-cv-01019-JAD-GWF
                                                                 2:13-cv-02022-JCM-VCF
                                                          Case #_______________________
                                                 )
                                                 )
                                                 )                      DEFAULT
Victoria L Gunvalson, et al.,                    )
                                                 )
                                                 )
                  Defendant(s).                  )
______________________________________ )

        It appearing from the records in the above-entitled action that Summons issued on
the          Original        Complaint        9/9/2013 (originally filed in9,2:13-cv-02022-JAD-GWF)
                                                            September         2013
        (Original, Amended, etc)                        (Date Complaint was filed)

has been regularly served upon each of the Defendants hereinafter named; and it

appearing from the affidavit of counsel or Plaintiff and the records herein that each of

said Defendants has failed to plead or otherwise defend in said action as required by said

Summons and provided by the Federal Rules of Civil Procedure.

        Now, therefore, on request of counsel for Plaintiff, the DEFAULT, as aforesaid, of

each of the following Defendants Cougar
                                  Woo HooJuice Vodka,
                                         Productions, LLC,LLC
                                                           David Brooks Ayers, Cougar Juice Vodka,

P
LLC and Sweetwaters Distillers, Inc.

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in the above-entitled action is hereby entered.

                         December 9, 2013
DATED:                                                             LANCE S. WILSON,1/7/2019
                                                                                    CLERK

                                                                   By: /s/ Ari Caytuero

                                                                          Deputy Clerk
